                                                                            CLERKS OFFICE U.S. DIST. COURT
                                                                               AT CHARLOTTESVILLE, VA
                                                                                     FILED
                         IN THE UNITED STATES DISTRICT COURT                     05/23/2019
                        FOR THE WESTERN DISTRICT OF VIRGINIA                   JULIA C. DUDLEY, CLERK
                                  Charlottesville Division                     BY: /s/ J. JONES
                                                                                  DEPUTY CLERK
 UNITED STATES OF AMERICA,                   )
                                             )
 v.                                          )       Case No. 3:18-cr-000025-4
                                             )
 COLE EVAN WHITE,                            )       ORDER
      Defendant.                             )

        By Order entered May 22, 2019, the Defendant was released on conditions. ECF No. 123.

 On the recommendation of the Probation Office, and with the parties’ consent, the condition

 requiring the Defendant to submit to location monitoring is hereby MODIFIED to require

 monitoring by radio frequency, rather than voice recognition.

        It is so ORDERED.

                                                     ENTERED: May 23, 2019




                                                     Joel C. Hoppe
                                                     United States Magistrate Judge




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